                                                                                                     v


                 1

                                   IN THE SUPERIOR COURT EOR THE STATE OF ALASKA
                 2

                 3
                                          THIRD JUDTCIAL DISTRTCT AT         ANCHORAGE


                 4

                 5   EMMA NASHrds Personal
                     Representative of the
                 6

                 7
                     ESTATE OF EL]ZABETH NASH,

                                   Plaintiff,
                                                                         _"'ff,ri:
                 B
                     174

                 I
                     RYAN   R.   GERRY,   MD,       )
                10   SHANNON PATR]CK GARITTY, )
                     MD, KATHRYN A. LEWTS, RN.)
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            r
                11
                     KIM DERR-OBERLIES, RN and)
  'iL_r
  HiH*N         12
                     JENNIFER    M. VADEN, CNA      )

.tE!Fa                            Defendants.
                                                    )


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6,zti1:                                             )    case No.    3AN-1   ,-?
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 \r/Y{6ar                                                COMPLAINT
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 E? ?       P   16
                            COMES   plaintiff,    through counsel, the law office of Dillon
                17   e Findley, P.C., and for its              respective causes of action,
                18   alleges as foll-ows:
                19
                            1.    Plaintiff      Emma   Nash, the personal representative of
                20
                     the Estate of Elizabeth Nash, brings this action on behalf of
                21
                     the Estate of El-izabeth Nash. Elir.O.an Nash was during a1I
                22
                     rel-evant times herein, a resident of Point Hope, Afaska.
                23

                24
                            2.    Defendant Ryan R. Gerry, M.D. is a medical doctor            who

                25   is licensed by the State of Alaska and has been, during a1l
                26   rel-evant times alleged herein, a resldent of Anchorage, Alaska.

                     COMPLAlNT
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                  1           3.      Defendant Shannon Patrick Garitty, M.D. is a medical
                  2
                      doctor who is in residency accordlng to licensing by the State
                  3
                      of Alaska and has been, during all                relevant times alleged
                  4
                      herein, a resj-dent of Anchoraqe, Alaska.
                  5
                              4.      Defendant Kathryn A. Lewis, R.N. is a regi-stered nurse
                  6

                  7
                      who is licensed by the State of Alaska and has been, during all

                  B
                      relevant times alleged herein, a resident of Anchorage, Alaska.
                  I           5   .   Defendant Kim Derr-Oberl-ies,      R.   N. is a registered
                 10   nurse who is licensed by the State of Alaska and has                   been,
            E
 >7         3
                 11
                      durlng all- relevant times alleged              herei-n   I   a resident of
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                 12
.2 H Eas              Anchorage, Alaska.
                 13
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adirl:                        6.      Defendant Jennifer M. Vaden, C.N.A. is a certified
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-AA2;.:
                 14
 \/Yi6or
    \H+CN             nurse aide who is licensed by the State of Alaska and has been,
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                      during all         rel-evant times alleged herein, a resident             of
                 17   Anchorage, AIaska.
                 1B           "1. Jurisdlction      in    this     Court       is   proper   under
                 19
                      AS 22.L0.020.        Venue is proper under AS 22.10.030 and AIaska
                              of Civil Procedure 3. i
                 20
                      Rul-e
                 21


                 22
                      '    this case invol-ves care received at the AIaska Native
                 23   Medical Center.     It is likely that some if not all of the
                      providers named were federal employees at the time of the care
                 24   rendered to Ms. Nash and their care is governed by the Federal
                      Torts Claims Act (*ETCA"). A proper administrative Form 95 has
                 25
                      been filed to toIl the statute of limitations for the federal
                 26
                      action. However, federal case law does not protect the state
                      statute of limitations for any healthcare provider who is not an
                      COMPLAINT
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                       1                                FACTUA], BACKGROUIID
                       2
                                    B.   On October !7 , 20t4l Elizabeth Nash was t-boned by          a

                       3
                            midsized SUV that ran a stop sign while riding in a taxi with
                       4
                            her daughter and grandson. The cab was significantly               damaged.
                       5
                            A11 three were transported to Alaska Native Medical Center by
                       6

                       7
                            ambulance; Ms. Nash arrj-ved at about B:08 p.m.

                       I            9.   The triage record described the motor vehicle crash as
                       o    maj   or.
                      10            10. Portable chest and pelvis x-rays taken at about
                 3    '11

    >7           3          B:35 p.m. revealed rib fractures on the right sald with a right
    fAY          r:
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    A )YO^            12
           .gBE             side apical pneumothorax, and right radius fracture of her             arm.
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                            Ms. Nash was glven an intravenous morphine drip for her pain.
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     \ F
 t-Xo<^    +   CN                   11. After arri-val a series of tests were ordered for
    EIY-       ->     15
    F(x'        x
    Q;           ;    16
                            Ms. Nash, including CT of her head, spine, abdomen and pelvis,
                 P

                      17    but then cancelled. These tests were never performed.
                      18            L2. Ms. Nash had significantly         el-evated blood pressures
                      19
                            during her ambulance transport.          Her initial    blood pressure at
                      20
                            the AIaska Native Medical Center (*ANMC") was hypotensive at
                      21
                            95/ 64.      After   that   her blood pressures were consistently
                      22

                      23
                            employee of the federal government under the FTCA. Since there
                      24    is no way to ensure that the healthcare providers who provided
                            care to Ms. Nash were federal employees before the expiration of
                      25
                            the state statute of limitations, this Complalnt is necessary to
                      26
                            require the United States Government to certify the status of
                            each provider involved j-n her care.
                            COMPLA]NT
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                  1   hypertensive. Including pressures like 1'72/1L2. Ms. Nash had                  a

                  2   respiratory rate of 20 and she was experiencing intermittent
                  3
                      tachycardia.
                  4
                             13. Ms. Nash was examined by             a     resident, Dr.     Shannon
                  5
                      Patrick Garitty, and Dr. Ryan Gerry.           Dr .   Garitty and Dr. Ryan's
                  6

                  7
                      dictated note acknowledge the fractures detected by the plain
                  I   film x-rays, and determined there was no respj-ratory               compromise.

                  I   There was a decision to admit for observation.                That note      was

                 10   dictated at 9:48 p.m., with vital-s taken at 8:43           p.m.
             3
 >7          3
                 11
                             L4. Ms. Nash remained in the emergency room.                    She   was
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 A    )XO^       12
. Z B !68             periodically checked by nurses. Ms. Nash's vital siqns                 remai-ned
HEB:E#           13
                      concerni-ng. At 9:42 p.m., Ms. Nash developed a fever and
6dir1:                                                                                             was
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-?zElHF
-AA2;":
  V,u-l6ur            given acetaminophen. At 11:00 p.m., Ms. Nash was tachycardic
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          5
             r        wlth a heart rate of 704, an elevated respiratory rate of                    24,
             #   16

                 17   and a BP of 763/96. At midnight, she was noted to have a cough
                 18   with secretions and she remained on oxygen with 5 to 2 liters                 of
                 19   oxygen during this        ti-me.    Her vitals        were next checked at
                 20
                      1:00 a.m. when Ms. Nash remained tachycardic, her respiratory
                 21
                      rate worsened from 24 to 28, her blood pressure worsened to
                 22
                      L6B/LL0. The last recorded vital signs were taken at 1:00                  a.m.
                 23

                 24
                      Ms. Nash was also experiencing            nausea.       Ms. Nash was also

                 25   receiving I.V. fluids.
                 26


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                   't
                               15. At     some point      around 2:00 a.m. the             resident,
                   2
                        Dr. Garitty, provided more orders, includlng a           CBC   and chemical
                   o
                        blood work panel, and anti-nausea medication.                  There i-s    no
                   4
                        documentation supporting why Dr. Garitty made these new orders.
                   5
                        There is no documentatlon that Dr. Garitty evaluated Ms.                Nash
                   6

                   7
                        before amending the order.         There is no documentation that the

                   I    nurses communicated with Dr. Garitty at this time.
                   o           76. Ms. Nash's blood work came back at 2:11, a -m.                  and

                  10    showed a marked increase in her white blood cel1 count from
             I

   >1        6
             3
                  11
                        results received after she arrlved earlier               in the evening.
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.7H!ne                  There were also other concerning and worsening results from her
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Q a i 3i:
                        previous pane1.
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 -lE3€l                        17. At 3:15 d.o., nurse Kim E. Derr-Oberlies approached
                  15
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  Q;         ;
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             F    16
                        Ms. Nash and found her unresponsive.
                  17           18. A code was called and resuscitation was attempted for
                  18    L6 minutes. Ms. Nash remained asystole the entire time.                    She

                  19
                        was pronounced dead at 3:31 a.m.
                  20
                               t9. There are two nursing notes entered by Ms. Derr-
                  21
                        Oberlies relating       to Ms. Nash.         Both were entered after
                  22
                        Ms. Nash's death/ one at 5:10 a.m. and an amendment at 5:42 a.m.
                  23

                  24
                        In those notes, Ms. Derr-Oberlies documents events that were not
                  25    documented before Ms. Nash's      death. Ms. Derr-Oberl-ies        documents

                  26    that Ms. Nash vomited *G300," which appears to be a typo,                  and

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                      1   she documents providing anti-nausea medicatlon at 2:18                         a.m.
                      2
                          Ms. Derr-Oberlies documents calling Dr. Garitty at 2230 a.m. "to
                      3
                          inform him of the patient's high blood pressure of L68/1L0                      and
                      4
                           L68/t7L to whj-ch he ordered a one time dose of Metorpolol [sic]
                      5
                          5 mg fVP/ once Pharmacy had cl-eared the medicaiton Islc],                        I
                      6

                      7
                          approached the           patient       at       0   315       and   found       her

                      8   unresponsr_ve

                      I         20. Ms. Derr-Oberl-ies also documents that a different
                     10   nurse, Karl Wade, went into his patient's room at 3:54 a.m. to
                s
    >1          3
                     11
                          give them medicatj-on and heard Ms. Nash             cough.
    reP
    r-ai!?*N
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    A }YO^
.   Z B qqB                     2L. Ms. Nash was unresponsive from 3:15 a.m. until she was
gE8?EJ               13
6 d i r1:                 pronounced dead at 3:31 a.m.
                     14
-?z6rfF
-A!,22;":
    V,v-.l6oN                   22. Thirty-two mlnutes later,             Ms. Derr-Oberlies           amended
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    Fl Y* -F         15
    xE
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                5
                j         this entry to say Mr.       Wade was   in his patient's room and heard
                .o   16
                F


                     17   Ms. Nash cough at 2:54 a.m.
                     18         23. An autopsy revealed that Ms. Nash had an aortic
                     19
                          dlssection that        caused a cardiac tamponade which is                        a
                     20
                          consequence of the blunt trauma she experienced in the motor
                     21
                          vehicle crash.
                     22
                                                             COUNT    I
                     23

                     24
                                Plaintiff   re-a11eges paragraphs         1    through 23 as Lf fullY
                     25   set forth herein, and further alleges           as   follows:
                     26


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                       1          24. Defendant Ryan R. Gerry,        M.   D. owed a duty to plaintiff
                       2   Elizabeth Nash to assess/ di-agnose and treat her after a major
                       3
                           motor vehicle accident wlth the degree of care and/or knowledge
                       4
                           or skill possessed by or ordinarily exercised by medical doctors
                       5
                           trai-ned or experienced in the field of emergency medicine.
                       6

                       7
                                  25. Defendant Dr. Gerry either               lacked the degree of
                       I   knowledge or skil-1 or failed to exercise the degree of care
                       I   possessed by or ordinarily        exercised by medical doctors trained
                      10   or experi-enced in the field of emergency medicine and acted in               a
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                      11
                           negligent and/or reckless manner in the care provided to
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14 Z I
        gEE                Ms. Nash as described above.
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5a i      ili                     26. Dr. Gerry negligently               and/or recklessly provided
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-A-022;":
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                           emergency care     to Ms. Nash, which was a cause of her death.
                      15
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                F     16
                                                             COUNT   II
                      17          Plalntiff   re-a1leges paragraphs 1 through 26 as if            fully
                      18   set forth herein, and further alleges as follows:
                      19          27. Defendant Shannon Patrick Garitty, M.D. owed a duty to
                      20
                           plaintiff   Elizabeth Nash to assess, diagnose and treat her after
                      21
                           a major motor vehicle accident with the degree of care and/or
                      22
                           knowledge or skil-I possessed by or ordinarlly                exercised   by
                      23

                      24
                           medical doctors trained or experienced in the field of emergency

                      25   mediclne.

                      26


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                    1             28   . Defendant Dr. Garitty either lacked the degree of
                    2    knowledge or ski1l or fa11ed to exercise the degree of care
                    3
                         possessed by or ordinarily exercised by medical doctors traj-ned
                    4
                         or experienced 1n the field of emerqency mediclne and acted in                     a
                    5
                         negligent and/or reckl-ess manner in his care provided to
                    6

                    7
                         Ms. Nash as described above.

                    I             29. Dr. Garitty negligently and/or recklessly provided
                    o    emergency care       to Ms. Nash, which was a cause of her death.
                   '10
                                                               COUNT   III
            €
  >1        6
            3
                   11
                                  Plaintlff    re-a1leges paragiraphs 1 through 29      as        if    fu1ly
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  t-liP*N          12
  A]:O^
      i H !58
.i'ir-lXU)Ur:
                   13
                         set forth herein, and further alleges as follows:
F Ir< X .i 3.6
6dir1:                            30. Defendants heal-thcare providers, Kathryn              A.        Lewis,
i<gls'x
 \Jl?aiii:
                   14
                         R.N., Kim Derr-Oberlies, R.N., and Jennifer M. Vaden, C.N.A.
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  Flh'      X
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                   16
                         owed a duty to plaintiff              Elizabeth Nash to assess, monitor,
            F

                   17    communicate Ms. Nash's condltion to the appropriate healthcare
                   18    provider, and treat Ms. Nash's condition with the degree of care
                   19
                         and/or knowledge or skill             possessed by or ordinarily     exercised
                   20
                         by nurses or healthcare provlders trained or experienced in the
                   21
                         f ield   of    emergiency mediclne.
                   22
                                  31. Defendants either         lacked the degree of knowledge or
                   23

                   24
                         skill     or failed to exercise the degree of care possessed by or
                   25    ordinarily exercised by nurses or healthcare providers trained
                   26    or experienced in the field of emergency medicine and acted in                     a


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                 1   negligent and/or reckless                  manner    in     the    care   provided to
                 2
                     Ms. Nash as described above.
                 3
                                 32. Defendants negligently              and/or recklessly           provided
                 4
                     emergency care          to Ms. Nash, which was a cause of her death.
                 5
                                 WHEREFORE,   plaintiff    prays for relj-ef as foll-ows:
                 6

                 7
                                 1.   For compensatory damages, in excess of                   $100r 000.00,

                 I   the exact amount to be proven at trial,                           including, but not
                 I   l-imited to, compensation for the wrongful death of Elizabeth
                10   Nash; for economic and noneconomic losses to the Estate of
           a
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  rYt U
           6
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           .l
                11
                     Elizabeth Nash, including compensation for pain and suffering
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                     experienced, Ioss of services, and for }oss of enjoyment of
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                                 2.   For costs, attorney' s f ees, and pre- j udgment interest,'
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                     and
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                17               3.   For such other and further relief                as the Court     deems

                1B   just and proper.
                19
                                 DATED   this 14th day of October 2016, dt Anchorage, Alaska.
                20
                                                          DILLON & FINDLEY/ P.C.
                21                                        Attorpeys            lainti ff
                22                                        By:
                                                                   ret Simonian,       ABA   No.   9901001
                23

                24

                25

                26


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